            Case 1:18-cr-00457-AJT Document 173-2 Filed 05/30/19 Page 1 of 6 PageID# 1463
    From:                    Bijan Kian
    Sent:                    Thursday, August 11 , 2016 8:56 PM
    To:                      Ekim Alptekin
    Subject:                 Re: Welcome back!


    Ekim :

    Here are two choices for a call with MF tomorrow:

    1400 EDT, 1100 PDT
    or
    1700 EDT, 1400 PDT

    Please let me know which one of the windows is more convenient for you?

    I have also set a time where you, me and Jim can talk. Any time between noon EDT and 1400 EDT tomorrow.
    Please let me know what time you prefer to talk to Jim?

    MF and I spent some time on the campaign design and end product as well as resource allocation. We have
    decided to press the cost down through the design of an effective "end product" that is portable, durable and
    easily distributed through the net. If you have some time on Skype, I can go over some details with you . Bad
    news is that T could not squeeze enough to fit the figures you mentioned. The good news is that I was able to
    stay in the neighborhood. The challenge was in the cost of specialist that I mentioned to you . So, our cost will
    not include PR. I did not touch the advisory support we discussed at 20%.

    Mike and I have activated the FIG LAB as of tonight and ready to push the start button immediately.

    Engagement purpose: The business community is engaging FIG to restore "confidence through clarity" in the
    trade and investment climate.

    Please let me know if you would like to Skype now briefly .

    Cheers!

    Bijan

    Hon. Bijan R. Kian
    Vice Chairman of the Board of Directors
    Flynn Intel Group, Inc.




                                                                                                      GOVERNMENT
                                                                                                        EXHIBIT
               "'''
               . .. t   )"'
                         "., :N···;;1
                             •   j • .   ('!'      ·' ',tlJ' ! l'·r·
                                          · ' ...........         ,l ..
                                                                                                             17
                                                                                                       1:18-CR-457
      otice of Confidentiality
    The information contained in this communication is intended solely for the use of the individual or entity
    to whom it is addressed and others authorized to receive it. It may contain confidential or legally privileged



CONFIDENTIAL                                                                                            FIG_EDVA_00005099
                                                                                           US_v_Kian_00001026
            Case 1:18-cr-00457-AJT Document 173-2 Filed 05/30/19 Page 2 of 6 PageID# 1464
    From:             Bijan Kian
    Sent:             Thursday, August 11 , 2016 9:42 PM
    To:               Mike Flynn                                    Philip

    Cc:               Michael Flynn
    Subject:          CONFIDE CE THROUGH CLARITY CAMPAIGN- Operation Confidence
    Attach:           Costs and revenue pro forrna.xlsx


    Mike and Phil :

    We are about to be engaged by a Dutch client for the above campaign.
    Phil : I will brief you over Skype or on the phone when we can talk on the phone.
    I have been given high confidence that this engagement in imminent.

    Phase Zero wit I cover:

       • To secure active participation of SENIOR ADVISOR. COGS refers to this cost.
       • Define the opposing force.
       • Develop an accurate, objective and reliable account of "Where we are now" . (undesired state)
       • A clear path to "where we would like to be" (desired state)
       • Define dependencies uncertainties, expected and unexpected consequences.
       • Define options from "narrow" and "extremely tactical" to "broad" and "strategic" with a clear cost/benefit
         matrix. (Net Assessment)
       • Apply the "Expected Value Analysis" model to options.
       • Define "possibilities" as distinct from "probabilities" of success and failure.
       • Measure second and third order effects on both "possibilities" and "probabilities" .

    The end "product" is a video production ( We have a success record with a similar effort) . The product will be
    credible, effective and durable in validity with maximum ease for distribution and broadcast.

    I suggest we discuss this campaign on the phone or on Skype. I will be flexible with my time tomorrow except
    for calls at 1300 EDT and 1400 EDT with the client.

    Attached is the budget for this 90 day campaign. This campaign wilJ be led by Mike. We will activate the FIG
    LAB for design of the content and the narrative.
    I will clarify roles and execution on the phone. We have done this before successfully.

    Looking forward to speaking with you . I am copying Michael G so that he is in the loop and can help manage
    the finances .

    All the best,

    Bijan


    Hon. Bijan R. Kian
    Vice Chairman of lhe Board of Directors
    Flynn !11/e/ Group, Inc.
                                                                                                      GOVERNMENT
                                                                                                        EXHIBIT
                                                                                                           18A
                                                                                                       1:18-CR-457

CONFIDENTIAL                                                                                          FIG_EDVA_00005151
                                                                                         US_v_Kian_00001029
      Case 1:18-cr-00457-AJT Document 173-2 Filed 05/30/19 Page 3 of 6 PageID# 1465



                                                                            August‐September           Sept. ‐ October            October‐ November
A FIG INITIATIVE

Confidence through Clarity
The business community is interested in bringing back business confidence
A Dutch business consulting firm is engaging FIG to lead the campaign
The duration of phase zero will be 90 days.
The final products will be a 30‐45 minute video.
Write Scenario, direct production, produce video.




                                                                                                                                                             Total
FIG Revenue                                                                            $150,000.00                  $150,000.00              $150,000.00             $450,000.00
COGS at 20%                                                                             $30,000.00                   $30,000.00               $30,000.00              $90,000.00

Gross Margin                                                                           $120,000.00                  $120,000.00              $120,000.00             $360,000.00   80.00%

Cost
Film Crew 320 hours at $50/ hr                                                                 20000                     20000                    20000               $60,000.00
Senior Investigator 1 40 hours at $150/hr BG                                                    6000                      6000                     6000               $18,000.00
Senior Investigator 2 40 hrs at $150/hr MB                                                      6000                      6000                     6000               $18,000.00
Senior Investigator 2 40 hrs at $250/hr.shm.b                                                  10000                     10000                    10000               $30,000.00

Rep. man                                                                                       15000                     15000                    15000               $45,000.00
Admin support                                                                                   5000                      5000                     5000               $15,000.00
Process Design , management and execution
FIG LAB 1                                                                                      15000                     10000                    10000               $35,000.00
FIG LAB 2                                                                                      15000                     10000                    10000               $35,000.00
FiG LAB 3                                                                                      15000                     10000                    10000               $35,000.00

Sentiment analysis before and after video distribution                                         5000                       5000                        5000            $15,000.00

Total Cost                                                                             $112,000.00                   $97,000.00               $97,000.00             $306,000.00   68.00%
NOI                                                                                      $8,000.00                   $23,000.00               $23,000.00              $54,000.00   12.00%




                                                                                                                                                                       GOVERNMENT
                                                                                                                                                                         EXHIBIT
                                                                                                                                                                               18B
                                                                                                                                                                         1:18-CR-457
         Case 1:18-cr-00457-AJT Document 173-2 Filed 05/30/19 Page 4 of 6 PageID# 1466
    From:           Bijan Kian
    Sent:           Thursday, August 25, 2016 10:16 AM
    To:             Ekim Alptekin
    Cc:             Michael Flynn
    Subject:        Action update


    Ekim:

    Thank you for informing us of your decision to engage Flynn Intel Group on Operation
    "CONFIDENCE" .

    We appreciate the opportunity to work with you on this impo1tant engagement.

    General Flynn and I have activated our "FIG LAB" placed our principal team members in
    formation and engaged the film crew in preparation for launching this engagement.

    General Flynn has decided to lead this engagement personally.

    We are targeting the following schedule of actions:

       • Send draft engagement letter between your company in the Netherlands and Flynn Intel
         Group (Please send us the full legal name of your Dutch entity and address). We will send
         you our draft engagement letter by no later than Sunday August 28, 2016. The brief
         engagement agreement will not entail operational details for obvious reasons.


       • Finalize the allocation of cost for S    ($50K or $30K per month for 3 months) and let us
         know at your earliest convenience so that we can prepare the engagement letter accordingly.


       • Along with the draft engagement agreement, we will issue an invoice for the first month in
         the amount of $180K or $200K (depending on the allocation for S         ) payable at the
         execution of the engagement letter (target execution/launch date of September 1, 2016).

    General Flynn and I welcome and appreciate your active participation and counsel on this
    engagement and have allocated 20% of$ l 50K per month as the advisory suppmt cost provided by
    your :£inn. As we agreed, if you decide to allocate $50K for S     , we will manage this budget to
    allocate on a Pari Passu basis (20% of $200K per month allocated for your professional advisory
    services) on this engagement. If you decide to allocate the $30K budget for S     , your finn's
    advisory fee will be based on the $150K.

    As I shared with you, General Flynn and T have decided to execute this phase on the lowest possible cost basis
    in anticipation of continued professional services on a longer term.

    I look forward to speaking with you on Skype soon.                                              GOVERNMENT
                                                                                                      EXHIBIT
    All the best
                                                                                                           19
                                                                                                      1:18-CR-457

CONFIDENTIAL                                                                                         FIG_EDVA_00005078
                                                                                        US_v_Kian_00001062
            Case 1:18-cr-00457-AJT Document 173-2 Filed 05/30/19 Page 5 of 6 PageID# 1467
    From:            Bijan Kian
    Sent:            Saturday, September 3, 2016 8:43 PM
    To:              Ekim Alptekin
    Cc:              Michael Fl nn
    Subject:         CONFIDENCE
    Attach:          Ad visory Agreement BK MF.docx


    Ekim:

    Attached to this secure email , please find the engagement letter between INOVO and FIG.

    I look forward to Sky pe with you early tomorrow morning m time. Would 1000 on Sunday DC time 5 PM Istanbul
    time work for you? If not, please let me know a good time and I will adjust my schedule to match yours.

    General Fly nn and I look forward to launching this engagement. Thank you for sharing important publications with us.
    This work is critical on the global scale as it elates to international security at the most sensitive and critical levels.

    As agreed, General Flynn is personally leading this engagement as we jointly manage the direction and timely
    execution of this engagement. We have been at work on this engagement since July 31st. However, we decided to set
    the start date as August 15 2016. The agreement reflects this date. Time is of the essence and we would like to execute
    this agreement as we planned together. We need evef) single day of this 90 days scope to execute our precision plan.

    Looking forward to our talk tomorrow.

    Cheers!

    Bijan


    Hon. Bijan R. Kian
    Vice hairman of 1he Board ofDirectors
    Flynn Intel Group. Inc.




      otice of Confidentiality
    The information contained in this communication is intended solely for the use of the indi vidual or entity to whom it is
    addressed and others authori zed to receive it. It may contain confidential or legally privileged infonnation . If you are
    not the intended recipient you are hereby notified that any disclosure, copying, distribution or tiling any action in
    reliance on the contents of this information is strictl prohibited and may be w1lawful. If you have recei ved
    this communication in error, please notify us immediately by responding to this email and then delete it from
    your system.

    Advisory Agreement BK MF.docx .tdf(l46112)

                                                                                                               GOVERNMENT
                                                                                                                 EXHIBIT
                                                                                                                     22A
                                                                                                                 1:18-CR-457

CONFIDENTIAL                                                                                                   FIG_EDVA_00005048
                                                                                                 US_v_Kian_00001083
         Case 1:18-cr-00457-AJT Document 173-2 Filed 05/30/19 Page 6 of 6 PageID# 1468
    From:              Bijan Kian
    Sent:              Monday, September 5, 2016 9:08 PM
    To:                Michael Flynn
    Subject:           Operation CONFIDENCE Playbook- For BK and MF only
    Attach:            Playbook OPERATION CONFIDENCE BK.docx



    Mike:

    Please take a look at this draft playbook. It is neither final , nor complete. Just a starting point in
    defining the story and the roles. Not all team members will have a major role. Some will play a
    nominal role and some have a greater allocation. Once you review and approve this playbook I
    believe it is more appropriate if the playbook and assignments go out from your office with
    instructions to the team setting target dates and delivery of their expected products. Ekim
    will participate in a session with only selected senior team members (You, BK, PB, JW, Brian
    M           , Mike B       . I believe Mike B        is the right officer to quarterback this
    engagement. He has the intellect/ discipline and dedicated time. I defer to you on all. This
    engagement will have a substantial tail if we can produce the expected quality . I am confident that
    we can and we will.

    It will be great if you and I can spend an hour going over the scenario and the allocations. I am
    working on a detailed budget a1location based on the principles we discussed at the airport. Our
    start date was August 15th. I suggest we manage payment to team members in such a way that
    motivates them to deliver on time. B1ian told me that he is committed to the project but wishes to
    see the bu1k of the work performed by his two agents. I have allocated 200 hours of investigative
    work which I believe is plenty at this stage. I am also allocating some travel and lodging/per Diem
    expense so that the agents can travel to Texas and Ca1ifomia. We (you and I) may find it useful ton
    travel to California for a speech and related work. I am waiting to hear back from Jo Ellen
    C          on this.

    I hope you took a break over the holiday see you soon and all the best,

    Bijan


    Hon. Bijan R. Kian
    Vice Chairman of the Board of Directors
    Flynn Intel Group, Inc.




     fa'}
     ~         flYNN ,NT:.:t . CROOJ' I NC
                                                                                            GOVERNMENT
                                                                                              EXHIBIT
     otice of Confidentiality                                                                    23A
                                                                                              1:18-CR-457

CONFIDENTIAL                                                                                  FIG_EDVA_00005054
                                                                                  US_v_Kian_00001087
